         Case 12-27160        Doc 33     Filed 05/11/18 Entered 05/11/18 15:29:48                  Desc Notice
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Form NTCFTFC7

                                   United States Bankruptcy Court
                                               Northern District of Illinois
                                                    Eastern Division
                                                    219 S Dearborn
                                                       7th Floor
                                                   Chicago, IL 60604


In Re:
                                                                 Case No. 12−27160
                                                                 :
Kenneth W. Sutton                                                Chapter : 7
12531 South Princeton Avenue                                     Judge :   Carol A. Doyle
Chicago, IL 60628−7224
SSN: xxx−xx−0044 EIN: N.A.




Debtor's Attorney:                                                Trustee:
Timothy K. Liou                                                   Eugene Crane
Liou Law Firm                                                     Crane Simon Clar & Dan
900 West Washington Boulevard                                     135 S Lasalle Ste 3705
Chicago, IL 60607−2298                                            Chicago, IL 60603

312−474−7000                                                      312 641−6777

                            NOTICE FIXING TIME FOR FILING CLAIMS
To the Debtor(s), Creditors, and other Parties in Interest:

A petition under Chapter 7 of the U.S. Bankruptcy Code has been filed by (or against) the above−named debtor(s) on
July 7, 2012 .

1. August 13, 2018 is fixed as the last day for the filing of claims by creditors other than governmental units.

2. August 13, 2018 is fixed as the last day for the filing of claims by governmental units.

In order to have a claim allowed and share in any distribution from the estate, a creditor must file a claim, whether or
not the creditor was included in the schedules filed by the debtor(s). Claims which are not filed on or before the date
fixed as the last day for the filing of claims as specified in #1 and #2 above, will not be timely, except as otherwise
provided by law.

Attorneys must file this claim electronically via the CM/ECF system. Non−Attorneys may file in person or by
mail at the Clerk of the Bankruptcy Court's address shown at the top of the form. A Proof of Claim form
("Official Form B 410") can be obtained at the United States Courts Web site:
(http://www.uscourts.gov/FormsAndFees/Forms/BankruptcyForms.aspx) or at any bankruptcy clerks office.

                                                              For the Court,


Dated: May 11, 2018                                           Jeffrey P. Allsteadt , Clerk
                                                              United States Bankruptcy Court
